






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00003-CV






Texas Department of Assistive and Rehabilitative Services

f/k/a Texas Rehabilitation Commission, Appellant


v.


Anna M. Abraham, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT

NO. GN303143, HONORABLE DARLENE BYRNE, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



	This is an appeal from a jury's award of damages in a retaliatory discharge case. 
Anna M. Abraham sued her employer, the Texas Rehabilitation Commission (TRC), (1) alleging that
she was unlawfully terminated after complaining of sexual harassment by her boss.  See Tex. Lab.
Code Ann. § 21.055 (West 1996).  A jury found in favor of Abraham and awarded her damages and
reasonable attorney's fees and expenses.  The TRC appeals this judgment contending that there was
legally insufficient evidence that Abraham was engaged in a protected activity or that there was any
causal link between that activity and her job loss, and that there was error in the jury charge.  We
affirm the judgment.

BACKGROUND

	Anna Abraham was discharged from her position as an auditor in the TRC's
Management Audit Division within weeks of making an internal sexual harassment complaint
against her supervisor.  There had been considerable upheaval in the audit division during the
months preceding Abraham's discharge.  Audit division employees had been criticized for
unprofessional behavior, and management was investigating the general operations of the division
and the alleged misconduct by its new head, Jim Gilger.  Because the TRC challenges the legal
sufficiency of the evidence supporting the jury's verdict, we will discuss the events leading up to
Abraham's discharge in detail. 

	Abraham began working at the TRC in 1991.  At trial, she was described by
Commissioner Vernon "Max" Arrell as an excellent employee.  A "Performance
Appraisal/Development Plan" for the period of October 1999 to January 2001 concluded that
Abraham "exceeds" twelve of the fourteen performance standards and "meets" the remaining two. 
The month before she lost her job, Gilger recommended, and Arrell approved, an immediate merit
pay increase for Abraham. (2)  

	Gilger was hired as the audit division's director in December 2001.  Audit division
employees described Gilger as a "touchy-feely" boss who acted inappropriately around women. 
Rumors circulated that he had been charged with sexual harassment at his prior workplace. 
Commissioner Arrell confirmed that a complaint had been filed against him at the University of
Texas at El Paso and sent Gilger a warning on May 1, 2002, that "[a]ny confirmed allegations of
inappropriate behavior or sexual harassment will result in your immediate termination."  

	Later that month, one of Abraham's co-workers, Carolyn Briggs, made a sexual
harassment complaint against Gilger to the TRC's Office of Civil Rights.  Jenny Hall, the director
of that office, immediately informed Arrell of Briggs's complaint.  Arrell asked Hall to investigate,
and the entire audit division was interviewed about the alleged misconduct.  

	Hall interviewed Abraham on June 3.  During the interview, Hall promised Abraham
that there would be no retaliation against her for participating candidly in the inquiry.  Abraham
acknowledged that she knew Briggs was uncomfortable around Gilger and that Gilger's behavior
toward other women in the office was inappropriate.  She explained that Gilger was a "toucher" who
would sometimes put his arm around female employees to draw them closer during a conversation. 
Abraham told Hall that she often stepped away when she felt he was too close, but that Gilger
typically stepped forward to close the gap between them.  When Abraham asked whether this
behavior constituted sexual harassment, Hall explained that it could if it made Abraham
uncomfortable.

	The day after the interviews concluded, Arrell called a meeting with all audit division
employees on June 5; his chief of staff, Mary Wolfe, and Jenny Hall also attended.  It was unusual,
if not unprecedented, for the head of the agency and two other managers to meet with the audit
division staff as a group.  Roxanne Rios, an auditor who attended, testified that Arrell was angry:


[Arrell] said that he was tired of us all walking around and complaining, and we
needed to put our noses to the grindstone and get back to work.  He was tired of all
the trouble that we were causing.  And he said, 'I could outsource the whole lot of
you.' And, you know, he pounded the table and said, 'And this is not a threat.' (3)


Rios testified that she felt threatened and thought that her job was on the line.  


	Abraham and two other audit division employees did not attend the June 5 meeting
because they were out of the office that day.  When they returned to work on June 6, Arrell
summoned Abraham, Christina Alvarado and Jack Mezzetti to a meeting.  Alvarado testified that
Arrell was angry and that he pounded the table, much as he was described to have done the day
before.  Abraham testified that Arrell's "message was he didn't want to have to deal with any more
problems in our department or he would get rid of us all.  He was threatening to fire us."  Mezzetti
testified, "It was real, real clear to me what [Arrell] was talking about. . . .  [I]t was because of the
timing of the meeting.  The meeting was right about the time of the sexual complaints."  Alvarado
testified that, after the meeting, she was "very worried" about the information she had given Hall
during their interview.

	Hall acknowledged that she attended both meetings "because we were involved in
a sexual harassment complaint."  However, Hall testified that the meetings were unrelated to those
complaints.  Arrell explained that the purpose of the early June meetings was to direct audit division
staff members to "quit gossiping and carrying on and doing the things they were doing down there." (4)

	On June 7, Abraham filed a grievance with the TRC's Office of Civil Rights, alleging
sexual harassment and retaliation by Gilger.  Abraham's grievance explained that Gilger had asked
Abraham to spend time alone with him outside of the office, repeatedly inviting her to play
racquetball, occasionally inviting her to have drinks after work, and once inviting her to have dinner
at his home.  Abraham wrote that Gilger suggested that there must be somewhere the two of them
could have a drink "without being seen by anyone at the office," and that he "bemoaned the fact that
we couldn't go for a drink . . . which made [Abraham] very uncomfortable."  Hall notified Arrell and
Wolfe as soon as she received Abraham's grievance. 

	On June 14, Hall concluded her investigation into Briggs's earlier allegations, finding
"sufficient evidence to support that Mr. Gilger's behavior" created "an intimidating, hostile or
offensive work environment." After reviewing the report of Hall's investigation and discussing
Gilger's conduct with at least one member of the TRC Board of Directors, Arrell fired Gilger.

	While Hall began to investigate Abraham's complaint of Gilger's sexual harassment,
Arrell asked Wolfe to undertake a "management assessment" of the audit division.  Arrell testified
that he had some general concerns about the entire division and asked Wolfe to

[g]o down and take a look at management audit or any other division and find out
whether or not--how it's operating.  Find out the--what the workload is.  Find out
what the staffing is.  And then give me a determination as to what--what's needed
down there.



Arrell testified that he wanted Hall to conduct her sexual harassment investigation separately from
Wolfe's management assessment.  He instructed Hall and Wolfe not to share information unless, for
example, "management found [something] that had to do with civil rights," or vice-versa. 

	The record indicates that Hall shared information with Wolfe and Arrell on a frequent
basis.  For example, Hall forwarded Abraham's grievance to Wolfe and Arrell immediately upon
receipt.  Hall also forwarded a summary of a telephone conversation in which Gilger told Hall that
Briggs and Abraham were conspiring against him and that they were "lazy," "dysfunctional"
employees. (5)  In addition, Hall provided Arrell and Wolfe with advance copies of her report:


because, one, I knew . . . a board meeting was coming.  Two, I know they were
working on issues regarding management audit.  So it wasn't a decision kind of
sharing.  It was an informational sharing with the executive management of the
agency.



Wolfe's management assessment focused on personnel issues within the office and the office's
workload.  According to Arrell, the auditors were authorized to work only on audits listed on the
Annual Audit Plan; work on other projects was strictly forbidden.  Wolfe testified that she
discovered that audit division employees had been working on unapproved audits. (6)  Wolfe concluded
that there was insufficient work on the Annual Audit Plan to sustain the office's current number of
employees. 

	Abraham disputed this conclusion at trial, presenting evidence that there was
sufficient work in the audit division.  She alleged that Gilger had planned to ask the Board of
Directors to add certain audits to the Annual Audit Plan at its next meeting.  She also presented
evidence that Arrell had approved the posting of two new job vacancies in the audit division on May
28--less than a month before Wolfe told the Board that there was insufficient work.  Moreover,
other audit division employees testified that there was plenty of work to keep the staff busy.

	The TRC Board met on June 20.  The agenda of the closed executive session included
Wolfe and Arrell's report on Gilger.  Wolfe first testified that she updated the Board "regarding
everything I had found about Mr. Gilger," including employee concerns about his "management
style."  She later testified that she failed to tell the Board that "Jim Gilger had been fired for sexually
harassing staffers in his office."  The second item on the executive session agenda was listed as
"Management Audit/RIF."  Wolfe presented the findings of her management assessment at this time,
informing the Board that "there were more people than there were work products." 

	After Wolfe left the executive session, Arrell recommended that the Board eliminate
unfilled positions and terminate four employees as part of a "reduction in force" (RIF). (7)  The Board
approved the "Reduction in Force Authorization and Implementation Plan" (RIF Plan) as proposed. 
Two of the four employees identified for termination, Abraham and Briggs, had filed grievances
against Gilger.  After the approved RIF Plan, only four auditors and one administrative technician
remained on staff.

	Abraham established at trial that the TRC did not follow its own guidelines for
determining which positions to eliminate under the RIF.  Those guidelines required temporary and
probationary employees to be fired first, followed by "regular employees with less than two years
total TRC service."  If more cuts were needed, regular employees with more than two years of
employment would be fired "based on current (prior twelve months) performance." 

	Arrell explained that, as the director of the audit division, Gilger was the logical
person to have evaluated the employees.  But because Gilger had been fired the week before, there
was no one who could rank employee performance.  In light of these circumstances, the RIF Plan
relied solely on "tenure with TRC" to terminate employees.

	On June 27, a week after the Board approved the RIF Plan, Arrell informed Abraham
and the other affected employees that they had been fired "[a]fter careful and thorough review of
management audit staffing and work responsibilities and to ensure the most prudent use of resources&nbsp;
. . . ."  Abraham filed a Charge of Discrimination with the Texas Commission on Human Rights
(TCHR).  The TCHR referred the complaint to the Equal Employment Opportunity Commission
(EEOC).  After an investigation, the EEOC found reasonable cause to believe unlawful retaliation
had occurred.  Abraham filed this lawsuit in August 2003, alleging that she was fired in retaliation
for engaging in protected conduct, in violation of section 21.055 of the labor code.  See id.  The jury
found in favor of Abraham, and she was awarded $222,843.08 in lost pay and retirement benefits;
$25,000 in compensatory damages for emotional pain, suffering, inconvenience, mental anguish, loss
of enjoyment of life and other non-pecuniary damages; and reasonable attorney's fees and expenses.


DISCUSSION

	On appeal, the TRC challenges the legal sufficiency of the evidence and contends that
the jury was improperly instructed.  In its first two points of error, the TRC asserts that Abraham
adduced no evidence that: (1) Abraham took part in an activity protected under section 21.055 of the
labor code or that (2) the TRC Board knew that she had done so before she was fired.  See id.  In its
third point of error, the TRC alleges that the district court erred by adopting what it terms a
"motivating factor" jury instruction, rather than a "but for" jury instruction.


Legal Sufficiency of the Evidence

	The TRC's legal sufficiency challenge is limited to two issues: Abraham produced
legally insufficient evidence that (1) she engaged in a protected activity and (2) the TRC Board was
aware of Abraham's participation in the alleged protected activity when it approved the elimination
of her job.  We will evaluate the TRC's legal sufficiency claims in light of the supreme court's recent
statement of the law in City of Keller v. Wilson, 168 S.W.3d 802 (Tex. 2005).  We will sustain a
legal sufficiency point if the record reveals: (a) the complete absence of a vital fact; (b) the court is
barred by rules of law or of evidence from giving weight to the only evidence offered to prove a vital
fact; (c) the evidence offered to prove a vital fact is no more than a mere scintilla; or (d) the evidence
establishes conclusively the opposite of the vital fact.  Id. at 810 (citing Robert W. Calvert, "No
Evidence" &amp; "Insufficient Evidence" Points of Error, 38 Tex. L. Rev. 361, 362-63 (1960)).  The
final test for legal sufficiency is whether the evidence at trial would enable reasonable and
fair-minded people to reach the verdict under review.  See id. at 827.  

	When the evidence offered to prove a vital fact is so weak as to do no more than
create a mere surmise or suspicion of its existence, the evidence is less than a scintilla and, in legal
effect, is no evidence.  See Ford Motor Co. v. Ridgway, 135 S.W.3d 598, 601 (Tex. 2004) (citing 

Kindred v. Con/Chem, Inc., 650 S.W.2d 61, 63 (Tex. 1983)).  But, more than a scintilla of evidence
exists if the evidence rises to a level that would enable reasonable and fair-minded people to differ
in their conclusions.  Ford Motor Co., 135 S.W.3d at 601 (citing Merrell Dow Pharm., Inc. v.
Havner, 953 S.W.2d 706, 711 (Tex. 1997)).

	Under the City of Keller analytical framework, we review the evidence in the light
favorable to the verdict, crediting favorable evidence if reasonable jurors could and disregarding
contrary evidence unless reasonable jurors could not.  See 168 S.W.3d at 807.  Jurors are the sole
judges of the credibility of the witnesses and the weight to give their testimony.  Id. at 819.  When
there is conflicting evidence, it is the province of the jury to resolve such conflicts.  Id. at 820.  If
conflicting inferences can be drawn from the evidence, we assume jurors made all inferences in favor
of their verdict if reasonable minds could, and disregard all other inferences.  Id. at 821.  But if the
evidence allows only one inference, we may not disregard it.  See id.  So long as the evidence falls
within a zone of reasonable disagreement, we may not substitute our judgment for that of the trier-of-fact.  See id. at 822.


	Protected Activity

	TRC first contends that Abraham failed to show that she engaged in a legally
protected activity under section 21.055 of the labor code before she was fired.  See Fabela v. Socorro
Indep. Sch. Dist., 329 F.3d 409, 414 (5th Cir. 2003) (retaliation plaintiff must demonstrate (1) she
engaged in protected activity, (2) adverse employment action occurred, and (3) causal link between
protected activity and adverse employment action); Mayberry v. Texas Dep't of Agric., 948 S.W.2d
312, 315 (Tex. App.--Austin 1997, writ denied).  Section 21.055 provides: 


An employer, labor union, or employment agency commits an unlawful employment
practice if the employer, labor union, or employment agency retaliates or
discriminates against a person who, under this chapter: (1) opposes a discriminatory
practice; (2) makes or files a charge; (3) files a complaint; or (4) testifies, assists, or
participates in any manner in an investigation, proceeding, or hearing.



Tex. Lab. Code Ann. § 21.055.


	The TRC argues that Abraham's internal grievance and her participation in the
investigation of Briggs's complaint did not constitute protected activities as defined in the
"participation clause" of the statute.  See id. § 21.055(2)-(4).  In support of this position, the TRC
draws our attention to the Eleventh Circuit's opinion in Equal Employment Opportunity Commission
v. Total System Services, Inc., 221 F.3d 1171 (11th Cir. 2000).  That case holds that the
"participation clause" of the federal analogue to section 21.055 protects only "proceedings and
activities which occur in conjunction with or after the filing of a formal charge with the EEOC," and
not those who participate in an employer's "internal, in-house investigation, conducted apart from
a formal charge with the EEOC."  Total Sys. Servs., Inc., 221 F.3d at 1174.  According to the TRC,
neither Abraham's participation in Hall's internal investigation, nor Abraham's filing of a grievance
with the TRC's Office of Civil Rights, would be covered under the "participation clause" of the
statute.

	However, the Texas statute has not been so narrowly construed.  In Wal-Mart Stores,
Inc. v. Lane, the Corpus Christi Court of Appeals reversed a jury verdict finding retaliation, but held
that an informal, internal complaint of sexual harassment to a supervisor was a protected "complaint"
for the purposes of section 21.055(3) of the labor code.  See 31 S.W.3d 282, 296 (Tex.
App.--Corpus Christi 2000, pet. denied).  Lane, a Wal-Mart employee, informed his supervisor that
a female co-worker had been spreading rumors that he had sexually harassed her.  See id. at 287. 
After an investigation into his conduct, Lane was terminated.  See id.  Lane filed suit against Wal-Mart and obtained a substantial damage award.  See id.  Among other claims, Lane alleged that he
was fired in retaliation for reporting the alleged sexual harassment by his co-worker.  See id. at 295. 
On appeal, the Corpus Christi court specifically addressed Wal-Mart's contention that Lane's
internal complaint was not a "statutorily protected activity," and held that Lane had made a
complaint pursuant to section 21.055(3) of the labor code. Id. at 296; Tex. Lab. Code Ann.
§&nbsp;21.055(3) (retaliation prohibited against person who "files a complaint").

	Abraham made an internal complaint of sexual harassment that was considerably
more formal than the one in Lane--she filed her grievance in writing with the agency's Office of
Civil Rights.  Finding Lane persuasive, we hold that Abraham's conduct was a protected activity
under the participation clause.  See Lane, 31 S.W.3d at 296. 

	Additionally, there is ample evidence in the record that Abraham opposed a
discriminatory practice under section 21.055(1).  See Tex. Lab. Code Ann. § 21.055.  To establish
opposition to a discriminatory practice, an employee must first demonstrate a "good faith reasonable
belief that the underlying discriminatory practice of the employer violated the law."  Cox &amp; Smith
Inc. v. Cook, 974 S.W.2d 217, 224 (Tex. App.--San Antonio 1998, pet. denied).  The employee does
not have to show the actual existence of an unlawful practice; it is sufficient that she had a good faith
reasonable belief that the employer's conduct was unlawful under the Texas Commission on Human
Rights Act.  See id.  The employee must also "demonstrate that she reported the challenged activity
to the employer."  Id.  

	Two key facts from the record support Abraham's good faith reasonable belief that
Gilger's conduct was illegal: (1) Hall, the TRC's own civil rights investigator, told Abraham that
Gilger's conduct "could be" sexual harassment if it made her uncomfortable, and (2) Abraham knew
that the TRC ultimately fired Gilger for similar conduct directed at another female employee. 
Because the TRC believed that Gilger's conduct was illegal, it was reasonable for Abraham to form
the same belief.  The evidence is also clear that Abraham reported Gilger's conduct to the TRC both
during her interview with Hall and two days later when she filed a formal grievance with the TRC's
Office of Civil Rights.  We hold that Abraham opposed a discriminatory practice under section
21.055 of the labor code.  See Tex. Lab. Code Ann. § 21.055; Cox, 974 S.W.2d at 224.  

	Applying the court's decision in Lane to the instant case and reviewing the evidence
of Abraham's opposition to Gilger's sexual harassment, we hold that she adduced legally sufficient
evidence that she engaged in activity protected by section 21.055.  See Tex. Lab. Code Ann.
§&nbsp;21.055. (8)  We overrule TRC's challenge to legally sufficient evidence of a protected activity.


	Causal Link 


	In its second issue, the TRC contends that there is no evidence of a causal link
between Abraham's protected activity and the loss of her job because Abraham did not demonstrate
that the TRC Board was aware of her complaint before it approved the RIF Plan.  See Fabela, 329
F.3d at 414; Marsaglia v. University of Tex., El Paso, 22 S.W.3d 1, 4 (Tex. App.--El Paso 1999,
pet. denied).  It is well established that the focus of our causal link analysis is on the final
decisionmaker.  Ackel v. Nat'l Communications, Inc., 339 F.3d 376, 385 (5th Cir. 2003).

	The TRC urges us to overturn the jury's verdict because it claims that Abraham did
not prove that the TRC Board, the final decisionmaker in Abraham's termination, ever knew of
Abraham's protected activities.  According to the TRC, the Board considered only two sources of
information in approving the RIF: Wolfe's management assessment and Arrell's recommendation
to fire Abraham.  Neither of those, the TRC contends, establishes the Board's knowledge of
Abraham's protected activity.

	However, Abraham presented strong circumstantial evidence that the TRC Board was
aware of her protected activity.  Hall testified that she provided advance copies of a draft of her
report on Gilger's sexual misconduct to both Arrell and Wolfe on June 14, prior to their meeting
with the Board.  The first paragraph of that report states that Abraham had filed an internal 
grievance against Gilger.  Abraham's grievance form and a four-page statement in which Abraham
described Gilger's behavior were also attached to Hall's report.  Hall testified that she provided the
report to Wolfe and Arrell so that the information could be given to the Board: "I wanted to share
information with executive management because one, I knew a board meeting was coming . . . ."  

	Arrell testified that he consulted with the Board before firing Gilger on June 14.  He
explained that the "[B]oard and I together decided that he needed to go" and that the Board "gave
me the authority to fire him."  According to Gilger's notice of termination, Arrell and the Board
based their decision to fire Gilger in large part upon "confirmed allegations of sexual harassment and
inappropriate behavior. . . ."  Gilger's name is also listed as a topic of discussion for executive
session at the June 20 board meeting--the same meeting in which the Board decided to eliminate
Abraham's job.  Arrell, who was fully aware of Abraham's complaints, was present while the Board
deliberated on his recommended reduction in force. (9)  Wolfe testified that she relayed concerns about
Gilger's "management style" to the Board.  Although Wolfe claimed that she did not tell the Board
that Gilger had been fired for sexual harassment, this answer does not address whether Wolfe
mentioned Abraham's complaint.  Moreover, there is no doubt that the Board knew Gilger had been
fired for sexual harassment--the Board had authorized his termination.  The jury could have
reasonably inferred from this record that the Board was informed of the details of Hall's report,
including Abraham's complaint, before it terminated Gilger and eliminated Abraham's position. 
Because there is some evidence that the Board was aware of Abraham's protected activity prior to
eliminating her position, we overrule the TRC's second legal sufficiency challenge. (10) 


Jury Instructions

	In its third and final point of error, the TRC contends that the district court erred by
submitting a "motivating factor" jury instruction rather than a "but for" jury instruction.  We review
the TRC's claim under an abuse of discretion standard.  See In re V.L.K., 24 S.W.3d 338, 341 (Tex.
2000).  The trial court has great latitude and considerable discretion to determine necessary and
proper jury instructions.  Louisiana-Pacific Co. v. Knighten, 976 S.W.2d 674, 676 (Tex. 1988).  
Error in the jury charge is reversible if, when viewed in light of all the circumstances, it amounts to
such a denial of rights of the complaining party as was reasonably calculated and probably did cause
the rendition of an improper judgment.  Niemeyer v. Tana Oil &amp; Gas Co., 39 S.W.3d 380, 387 (Tex.
App.--Austin 2001, pet. denied) (citing Howell Crude Oil Co. v. Donna Refinery Partners, Ltd., 928
S.W.2d 100, 110 (Tex. App.--Houston [14th Dist.] 1996, writ denied)). 

The district court charged the jury with the following two questions:  


Question No. 1


Was Anna M. Abraham's filing a complaint; testifying, assisting, or participating in
any manner in a sexual harassment investigation; or opposing sexual harassment a
motivating factor in the Texas Rehabilitation Commission's decision to discharge
Anna M. Abraham?  


A 'motivating factor' in an employment decision is a reason for making the decision
at the time it was made.  There may be more than one motivating factor for an
employment decision.


Answer "Yes" or "No."


Answer:  ____


If you have answered "Yes" to Question No. 1, then answer the following question. 
Otherwise, do not answer the following Question.


Question No. 2


Would the Texas Rehabilitation Commission have discharged Anna M. Abraham
when it did, in the absence of the impermissible motivating factor(s) described in
Question No. 1?


Answer "Yes" or "No."


Answer:  ____



	The TRC contends that the district court erroneously submitted the two "motivating
factor" instructions.  The proper causation standard for retaliation claims under section 21.055 of the
labor code is, as the TRC asserts, ultimately a "but for" standard.  See Pineda v. United Parcel Serv.,
Inc., 360 F.3d 483, 487 (5th Cir. 2004); Thomann v. Lakes Reg'l MHMR Ctr., 162 S.W.3d 788, 799
(Tex. App.--Dallas 2005, no pet.). (11)  But the mere mention of the phrase "motivating factor" in the
first question does not convert the two instructions, considered together, into an improper instruction. 
The first question required the jury to determine whether one of the TRC's reasons for firing
Abraham, among others, was that she engaged in a protected activity.  The second question then
required the jury to determine whether Abraham would have lost her job when she did if she had not
engaged in that protected activity.

	In Department of Human Services v. Hinds, a case brought under the Whistleblower
Act, the court found that an employee is not required "to prove that his reporting illegal conduct was
the sole reason for his employer's adverse actions."  See 904 S.W.2d 629, 634 (Tex. 1995).  Thus,
the fact that there may have been additional, permissible factors that motivated the TRC to terminate
Abraham is irrelevant under Hinds if Abraham would not have lost her job when she did but for the
impermissible factor.  See id. at 636 ("the standard of causation in whistleblower and similar cases
should be that the employee's protected conduct must be such that, without it, the employer's
prohibited conduct would not have occurred when it did").  Even if the first jury question raised the
possibility that there may have been permissible reasons for Abraham's termination, the second
question made certain that the jury would not be able to assign liability on that basis.  Instead, the
second question imposed the "but for" standard by requiring the jury to find liability only if Abraham
would not have lost her job in the absence of an impermissible reason for her termination.  See id. 
Accordingly, we overrule the TRC's third issue.


CONCLUSION

	Having overruled all of the TRC's issues, we affirm the district court's judgment
based on the jury's verdict.  



					__________________________________________

					Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Affirmed

Filed:   January 27, 2006
1. 1  The TRC no longer exists as an independent entity.  It recently became part of a new state
agency, the Texas Department of Assistive and Rehabilitative Services.  Because all of the events
in this case occurred before the TRC was reorganized, we will refer to appellant as "the TRC." 
2. 2  Gilger's memo to Arrell requesting the merit pay increase stated:


Ms. Abraham's recent Performance Appraisal demonstrates she meets or exceeds
all her job standards and continues to perform at a high level.  She communicates
effectively with clients, Division managers, and co-workers.  I have observed
evidence that she develops and maintains professional relationships, including
liaison activities, with clients to promote teamwork, effective rapport, and
cooperation.  She communicates in an articulate and professional manner, and
her writing is clear, concise, and constructive.  


Ms. Abraham is a valuable member of the Management Audit staff and her
continued growth will be critical to the success of the department.
3. 3  At trial, Arrell acknowledged that he remembered telling the audit division employees that
"I would contract it out," but later testified that he "did not say I would.  I said I could if it didn't
shape up."  Arrell also testified that he remembered saying that he could "recommend" such action.
4. 4  It appears clear from the record that the atmosphere in the office was often tense; several
of the audit division employees did not get along with one another.  For example, Briggs brought her
pet birds to the office, angering Abraham, who complained to management that the birds were a
health hazard.  Abraham described the office as a "rumor mill" where members of the small staff
frequently gossiped about one another.  She attributed the workplace problems to a lack of
management, while Arrell blamed the employees for acting like "junior high kids."  Hall described
the office as "a rather unhealthy place" plagued by "a lot of bickering."
5. 5  Hall's notes also stated that Gilger "said that Carolyn [Briggs] and Anna [Abraham] have
taken very innocent facts and circumstances and events and put a completely different perspective
on it and if anything, he feels he should be complaining about a hostile work environment and not
them."
6. 6  Evidence that Arrell and Wolfe received regular e-mails and memoranda from Gilger
summarizing the work being done by the audit division contradicted Wolfe's assertion that she first
discovered the unapproved audits in the course of her investigation.  Gilger's updates included
projects not listed on the audit plan.  E-mails from both Wolfe and Arrell confirm that they had
requested and reviewed these updates, hence they were aware of the unapproved audits long before
Wolfe's management assessment.
7. 7  TRC guidelines stated: 


Factors that may require reductions in TRC staffing include budgetary
constraints, program curtailments or consolidation, or deletion of functions. 
When such situations exist, every effort is made to accomplish needed reductions
through attrition.  However, if the required reduction cannot be accomplished
through attrition, it may become necessary to separate employees through
reduction in force (RIF).
8.   According to the TRC, a new trial is required because it is impossible to determine whether
the jury premised liability on Abraham's opposition to a discriminatory practice or participation in
a protected activity.  We are required to order a new trial under Crown Life Insurance Co. v. Casteel
when "a single broad-form liability question incorporate[s] multiple theories of liability" in such a
way that we "cannot determine whether the jury based its verdict on an improperly submitted invalid
theory."  See 22 S.W.3d 378, 388 (Tex. 2000).  Although the first jury question in this case included
multiple legal theories, they were proper, making it unnecessary for us to inquire into which theory
formed the basis for liability.


	Even had the district court erred by including a participation theory of liability in the first jury
question, we hold that such error was harmless.  The error of including a factually unsupported claim
in a broad-form jury question is not always reversible.  Romero v. KPH Consol., Inc., 166 S.W.3d
212, 227 (Tex. 2005).  To be reversible, the erroneous instruction must have "probably prevented
the appellant from properly presenting the case to the court of appeals."  See id.; Tex. R. App. P.
44.1(a)(2).  Here, the underlying conduct upon which the jury found liability was the same, whether
characterized as participation or opposition.  On this record, we are "reasonably certain that the jury
was not significantly influenced by issues erroneously submitted to it."  See Romero, 166 S.W.3d
at 227-28.  Consequently, we find that any error in the jury instruction was harmless. 
9.   Arrell testified at trial that he could not recall the events of the June 20 board meeting in
detail. 
10.   Because we hold that Abraham presented legally sufficient evidence that the Board was
aware of her protected activity, we need not consider Abraham's "conduit theory" argument.  See
City of Fort Worth v. Zimlich, 29 S.W.3d 62, 70 (Tex. 2000).
11.   The standard is considerably less stringent to establish the causal link in making a prima
facie case of retaliation.  See Ackel v. Nat'l Communications, Inc., 339 F.3d 376, 385 (5th Cir. 2003).


